          Case 1:13-cr-00035-JD Document 15 Filed 08/08/13 Page 1 of 2




                 UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                   Criminal No. 13-cr-35-JD

Robert Frese


                              PROCEDURAL ORDER


     This matter came before the court for sentencing today.             The

court indicated that after having reviewed the presentence

investigation report, memoranda, and letters, it would be helpful

in understanding the defendant’s mental condition for the court

to have more information than is currently available to it.

     Therefore, with the agreement of counsel and the defendant,

pursuant to 18 United States Code § 3552(c), the defendant shall

be examined by Dr. Albert Drukteinis, on an outpatient basis, for

the purposes of determining his current mental health diagnosis,

his current course of treatment, his prognosis under the current

treatment plan, any recommendation for an alternative treatment

plan, his prognosis if incarcerated briefly (30 days), his

prognosis if incarcerated for a longer period of time (up to 15

months), and any risk that the defendant may present to the

community for ongoing criminal activity.           The court requests the

examiner, to the extent he is able, to include opinions

concerning sentencing alternatives that could best provide the
        Case 1:13-cr-00035-JD Document 15 Filed 08/08/13 Page 2 of 2




defendant with the kind of treatment he needs given his current

mental condition.    The examiner may include any other information

or opinions concerning the defendant’s mental condition that he

determines may be relevant to the sentencing process.

      Defense counsel shall take the necessary steps to see that

Dr. Drukteinis is provided with whatever medical and counseling

records of the defendant that he deems necessary to this

evaluation.

      Upon completion of the examination and report, the examiner

shall file a copy with the court and provide copies to counsel

for the government and the defendant.



      SO ORDERED.



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                                         Joseph A. DiClerico, Jr.
                                         United States District Judge

August 8, 2013

cc:   Robert M. Kinsella, Esquire
      Jeffrey S. Levin, Esquire




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